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                            UNITED STATES DISTRICT COURT

                                DISTRICT OF OREGON

                                 PORTLAND DIVISION


 KELLY CAHILL et al.,                     Case No. 3:18-cv-01477-AB

              Plaintiffs,                 DEFENDANT NIKE, INC.’S NOTICE OF
                                          INTENT TO REDACT TRANSCRIPT OF
        v.                                ORAL ARGUMENT HELD ON
                                          DECEMBER 13, 2024
 NIKE, INC., an Oregon Corporation,

              Defendant.




        NIKE, INC.’S NOTICE OF INTENT TO REDACT TRANSCRIPT
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       Pursuant to Federal Rule of Civil Procedure 5.2, Local Rule 5.2 and this Court’s policy

on the electronic availability of transcripts in court proceedings, Defendant NIKE, Inc., hereby

submits its Notice of Intent to Redact certain portions of the Transcript of Oral Argument held on

December 13, 2024 before Judge Amy M. Baggio.



Dated: December 30, 2024                     Respectfully submitted,

                                             /s/ Felicia A. Davis

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